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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

INSTITUTE FOR JUSTICE,                      )
                                            )
                    Plaintiff,              )
v.                                          )              Case No. CIV-18-934-D
                                            )
JOHN HAWKINS, Chairman of the Oklahoma )
Ethics Commission; KAREN LONG, Vice-        )
Chairman of the Oklahoma Ethics Commission; )
HOLLY EASTERLING, Commissioner of the )
Oklahoma Ethics Commission; CHARLIE         )
LASTER, Commissioner of the Oklahoma        )
Ethics Commission; CATHY STOCKER,           )
Commissioner of the Oklahoma Ethics         )
Commission; ASHLEY KEMP, Executive          )
Director of the Oklahoma Ethics Commission, )
                                            )
                    Defendants.             )

      DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT
               COMBINED WITH BRIEF IN SUPPORT

       Defendants, John Hawkins, Karen Long, Holly Easterling, Charlie Laster, Cathy

Stocker, and Ashley Kemp, pursuant to Fed. R. Civ. P. 12(b)(1), (6), move the Honorable

Court for an order dismissing the Complaint of Plaintiff Institute for Justice (“Institute”),

for the following reasons:

       1. Institute lacks both constitutional and prudential standing; and

       2. Institute fails to allege sufficient facts to state a claim for which relief can be

          granted.

       Even if the Court finds it has jurisdiction over Institute’s claims, the Court should

exercise its sound discretion and decline to take jurisdiction over Institute’s claims for

declaratory and injunctive relief.

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                                   BRIEF IN SUPPORT

                               STATEMENT OF THE CASE

       Institute has filed its complaint for declaratory and injunctive relief against the five

members of the Oklahoma Ethics Commission (“Commission”) and the Commission’s

Executive Director, all in their official capacities. Institute seeks this Court to

permanently enjoin Defendants’ enforcement of “Oklahoma Ethics Rule 5 insofar as it

restricts persons from providing a state legislative or executive officer or employee with

books or other informational materials that exceed Ethics Rule 5’s $10 value threshold.” 1

       Institute claims Ethics Rules 5.6, 5.8, 5.11, and 5.13 violate its right to free speech

and to petition the government “as guaranteed by the First and Fourteenth Amendments

to the U.S. Constitution and 42 U.S.C. § 1982.” 2 Institute seeks a declaratory judgment

that, as applied to the provision of its book and informational materials to Oklahoma

legislative and executive branch officers and employees, Ethics Rules 5.6, 5.8, 5.11, and

5.13 are unconstitutional. Institute also seeks a permanent injunction prohibiting

Defendants from enforcing these Ethics Rules with respect to its book and informational

materials provided to Oklahoma legislative and executive branch officers and employees.




1
  Plaintiff’s Complaint, p. 1. “The purpose of Rule 5 is to establish rules for lobbyist
registration and reporting of expenditures for state officers and employees.” Ethics Rule
5.1.
2
  Plaintiff’s Complaint, p. 9, ¶ 36 and p. 10, ¶ 41.
                                               2
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                                         ARGUMENT

    I.   PLAINTIFF LACKS STANDING TO RAISE ANY ISSUE RELATED TO THE
         COMMISSION’S LIMITATION ON GIFTS LOBBYISTS AND LOBBYIST
         PRINCIPALS MAY PROVIDE TO STATE OFFICERS AND EMPLOYEES
         BECAUSE PLAINTIFF IS NEITHER A LOBBYIST NOR A LOBBYIST
         PRINCIPAL IN OKLAHOMA

         A.      Standard of Review

         Standing to sue is a threshold jurisdictional issue that may be properly raised on a

motion to dismiss under Fed. R. Civ. P. 12(b)(1). 3 A Fed. R. Civ. P. 12(b)(1) motion

may be made on the face of the Complaint’s allegations or may be based upon a

challenge to the facts upon which subject matter jurisdiction depends. 4 Where defendants

challenge the facts upon which subject matter jurisdiction depends, courts should not

presume the truthfulness of the complaint’s factual allegations. 5 Upon a factual attack of

subject matter jurisdiction the court may consider documents outside the pleadings, and

need not convert the motion to a Rule 56 motion for summary judgment. 6 Plaintiff has

the burden of establishing the court has subject matter jurisdiction. 7 If it appears the

court lacks jurisdiction of the subject matter, it shall dismiss the action. 8




3
  National Wastewater Systems, Inc. v. Smith, 2011 WL 1667478 at p.1 (U.S.D.C. W.D.
Okla. May 3, 2011) (“[s]tanding to sue is a threshold jurisdictional issue that may
properly be raised by a motion for dismissal under Fed. R. Civ. P. 12(b)(1)”), citing
Wilderness Society v. Kane County, 632 F.3d 1162, 1168 (10th Cir. 2011) and Colorado
Environmental Coalition v. Wenker, 353 F.3d 1221, 1227 (10th Cir. 2004).
4
  Holt v. United States, 46 F.3d 1000, 1002-03 (10th Cir. 1995).
5
  Holt, 46 F.3d at 1003.
6
  Id.
7
  Hobby Lobby Stores v. Sebelius, 723 F.3d 1114, 1184-85 (10th Cir. 2013).
8
  Fed. R. Civ. P. 12(h)(3).
                                                3
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       B.      Plaintiff Lacks Constitutional Standing

       Article III of the United States Constitution restricts the federal courts to the

adjudication of cases and controversies. 9 “No principle is more fundamental to the

judiciary’s proper role in our system of government than the constitutional limitation of

federal court jurisdiction to actual cases and controversies.” 10 One element of the case or

controversy requirement is that plaintiffs must establish they have standing to sue. 11

       The standing inquiry ensures the plaintiff in a case has a sufficient personal stake

in a dispute to ensure a concrete adverseness which sharpens the presentation of issues

upon which the court so largely depends for illumination of difficult constitutional

questions. 12 To establish Article III standing, a plaintiff must show that: (1) it has

suffered an injury in fact that is (a) concrete and particularized, 13 and (b) actual or

imminent, not conjectural or hypothetical; (2) the injury is fairly traceable to the

challenged action of the defendant, and (3) it is likely, as opposed to merely speculative,

that the injury will be redressed by the relief requested. 14




9
  Summers v. Earth Island Institute, 555 U.S. 488, 492, 129 S. Ct. 1142, 1148 (2009);
O’Shea v. Littleton, 414 U.S. 493-94, 94 S. Ct. 669, 675 (1974).
10
   Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408, 133 S. Ct. 1138, 1146 (2013)
(citation omitted).
11
   Id.
12
   O’Shea, 414 U.S. at 493-94, 94 S. Ct. at 675.
13
    In order to be “particularized” the injury must affect the plaintiff in a personal and
individual way. Lujan v. Defendants of Wildlife, 504 U.S. 555, 560 n.1, 112 S. Ct. 2130,
2136 n.1 (1992) (citations omitted).
14
   O’Shea, 414 U.S. at 493-94, 94 S. Ct. at 675.
                                               4
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       Standing must be analyzed from the facts as they existed at the time the complaint

was filed. 15 A main focus of the standing inquiry is whether plaintiff has suffered a

present or imminent injury, as opposed to a mere possibility, or even probability, of

future injury. 16 The plaintiff’s threat of injury must be “certainly impending” and not

merely speculative. 17 A claimed injury that is contingent upon speculation or conjecture

is beyond the bounds of a federal court’s jurisdiction. 18

       In the present case, Institute lacks standing to challenge Ethics Rule 5, which only

limits gifts a lobbyist or lobbyist principal may give to an Oklahoma state officer or

employee, because Institute is neither a lobbyist nor a lobbyist principal in Oklahoma.

Ethics Rule 5.3 requires a lobbyist must annually register with the Commission and

provide information about its lobbyist principal. 19 Lobbyist registration is performed

online at the Commission’s publicly available electronic registration and reporting

system, The Guardian, which the Commission has utilized since January 1, 2015, the

same time Ethics Rule 5 went into effect. However, a search of the Commission’s public

Guardian system shows that Institute has not had a registered lobbyist in Oklahoma at

least since January 1, 2015, when Ethics Rule 5 became effective and the Commission




15
   Nova Health Systems v. Gandy, 416 F.3d 1149, 1154 (10th Cir. 2005).
16
    Morgan v. McCotter, 365 F.3d 882, 888 (10th Cir. 2004).
17
   Lujan, 504 U.S. at 565 n. 2, 112 S. Ct. at 2138 n. 2.
18
   Id.
19
    The text of Ethics Rule 5.3 and other Ethics Rules cited herein may be found on the
Commission’s website at
https://www.ok.gov/ethics/documents/2018%20Ethics%20COMPILATION%20v2018.1.
pdf .
                                              5
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began using The Guardian online registration and reporting system. 20 Consequently,

Institute’s statement at paragraph 26 of its Complaint is false, where it states, “[o]ne of

the Institute’s in-house lobbyists is registered as a lobbyist in Oklahoma.” 21 Because

Institute does not have a registered lobbyist in Oklahoma and is therefore not a lobbyist

principal, providing a book in excess of $10 would not violate Oklahoma’s Ethics Rules.

        Institute’s statement in the introduction of its Complaint is also false, where it

states, “[t]he Oklahoma Ethics Commission has advised that the Institute would violate

Oklahoma law by providing these individuals with a copy of the book.” 22 Defendants nor

staff of the Commission have ever seen the book Plaintiff refers to in its Complaint,

Bottleneckers: Gaming the Government for Power and Private Profit. The Commission,

in issuing Advisory Opinion 2018-01, did not conclude that Plaintiff could not give to

Oklahoma state officers and employees the book entitled Bottleneckers: Gaming the

Government for Power and Private Profit. The general questions answered in Advisory

Opinion 2018-01 were:

     1. May an executive or legislative lobbyist give to a state officer or
        employee a book which the lobbyist principal may purchase at a
        discounted author rate of approximately $15.00?

     2. May an executive or legislative lobbyist give to a state officer or
        employee a report published by the lobbyist principal which is
        available for free on the lobbyist principal’s website or the lobbyist


20
   A search of lobbyist principals registered in Oklahoma may be performed on the
Commission’s publicly available online registration and reporting system at
http://guardian.ok.gov/PublicSite/SearchPages/Search.aspx?SearchTypeCodeHook=02B
BD822-D2D7-4375-8ACD-B46849F6E8E7 .
21
   Plaintiff’s Complaint, p.7 at ¶ 26.
22
   Plaintiff’s Complaint, p. 2.
                                               6
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       or lobbyist principal may print for $10.00 or less and provide to the
       official? 23

       Consequently, Advisory Opinion 2018-01 only related to gifts lobbyists and

lobbyist principals could give state officers and employees under Ethics Rule 5. The

Advisory Opinion did not conclude non-lobbyists and non-lobbyist principals, such as

Institute, could not give a book valued in excess of $10 to Oklahoma state officers and

employees. Moreover, Defendants know of no reason Institute, which does not have a

registered lobbyist in Oklahoma and is not a lobbyist principal in Oklahoma, could not

give its book to state officers and employees.

       Plaintiff cannot meet any of the three required elements to establish constitutional

standing in this case. Plaintiff has not (1) suffered an injury in fact that is concrete and

particularized, actual or imminent, and not merely conjectural or hypothetical; (2) an

injury that is fairly traceable to the challenged action of Defendants, and (3) that is likely,

as opposed to merely speculative, that the injury will be redressed by the relief requested.

       Institute has not suffered any injury because Defendants have never advised

Institute, who does not have a registered lobbyist in Oklahoma and is therefore not a

lobbyist principal in Oklahoma, it could not give to Oklahoma state officers and

employees a copy of Bottleneckers: Gaming the Government for Power and Private

Profit. Because Institute has not suffered any injury, there is no injury traceable to the



23
  A copy of Advisory Opinion 2018-01 may be found on the Commission’s publicly
available website at: https://www.ok.gov/ethics/documents/AOR-18-01%20FINAL.pdf .
Advisory Opinion 2018-01 discusses Ethics Rules 5.6, 5.8, 5.11, 5.18, which are the
subject of Institute’s Complaint.
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actions of Defendants and no redress for an injury. Institute therefore lacks Article III

standing and its Complaint should be dismissed.

       C.      Plaintiff Lacks Prudential Standing

       In addition to satisfying the prerequisites for Article III standing, Plaintiff must

also meet the requirements of “prudential standing”, which places limits on the class of

persons who may invoke the Court’s decisional and remedial powers. 24 A party that has

satisfied the requirements of constitutional standing may nonetheless be barred from

invoking a federal court’s jurisdiction under a prudential standing inquiry. 25 A plaintiff

must establish three conditions before invoking prudential standing: (i) plaintiff must

assert its own rights, rather than those belonging to third parties; 26 (ii) plaintiff’s

grievance must not be a generalized grievance; and (iii) plaintiff’s grievance must fall

within the “zone of interests” protected or regulated by the statutory provision or

constitutional guarantee in question. 27

       Institute does not have prudential standing to bring an action challenging the

Ethics Rules which limit gifts lobbyists and lobbyist principals may give to Oklahoma

state officers and employees because Institute is not a lobbyist nor lobbyist principal in

Oklahoma subject to such regulations, as set forth in the previous discussion related to


24
   Board of County Commissioners of Sweetwater County v. Geringer, 297 F.3d 1108,
1112 (10th Cir. 2002).
25
   Id.
26
   Two reasons a court should not adjudicate rights of third persons not parties to the
litigation are: (1) holders of the rights may not wish to assert them; and (2) holders of the
rights are the best proponents of those rights. Wilderness Society, 632 F.3d at 1171-72.
27
   Utah Shared Access Alliance v. Carpenter, 463 F.3d 1125, 1137 (10th Cir. 2006)
(citation omitted).
                                                8
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constitutional standing. Because Institute is not a lobbyist nor lobbyist principal it is not

within the “zone of interests” regulated by Ethics Rule 5, which only limits gifts lobbyists

and lobbyist principals may give to Oklahoma state officers and employees. Institute

would not be litigating its own interests, but rather the interests of third parties--lobbyists

and lobbyist principals in Oklahoma. Because Institute does not have prudential standing

in this matter, its Complaint should be dismissed.

II.    PLAINTIFF HAS FAILED TO STATE A CLAIM UPON WHICH RELIEF CAN
       BE GRANTED

       A.      Standard of Review

       Upon consideration of a defendant’s motion to dismiss under Fed. R. Civ. P.

12(b)(6), the court must determine whether the plaintiff has stated a claim upon which

relief may be granted. A complaint must contain enough facts to state a claim for relief

that is plausible on its face and not merely speculative. 28 Allegations in the complaint

must be considered in the light most favorable to the plaintiff; however, allegations that

are conclusory in nature are not required to be taken as true. 29

       B.      Plaintiff’s Conclusory Allegations That It Is Unable to Give A Book to
               Oklahoma State Officers and Employees And Its First Amendment Rights
               Violated Fails to State A Claim Supporting Either Declaratory or Injunctive
               Relief

       In order to determine whether Plaintiff has stated a claim under the First and

Fourteenth Amendments, this Court must determine whether the Plaintiff has alleged a

constitutional right that was violated. Plaintiff has not made any factual allegations in its


28
   Long v. St. Paul Fire and Marine Ins. Co., 589 F.3d 1075, 1079 (10th Cir. 2009).
29
   Mitchell v. King, 537 F.2d 385, 386 (10th Cir. 1976).
                                               9
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Complaint that if proven would show that constitutional rights were violated, supporting

its request for either declaratory or injunctive relief. Institute’s mere conjecture,

subjective belief, and conclusory allegations that Defendant’s lobbyist gift limits violate

its First Amendment rights fails to state a claim upon which relief can be granted.

       In addition, in considering a motion to dismiss under Fed. R. Civ. P. 12(b)(6)

courts may consider public records which controvert averments in the complaint without

converting the motion to one for summary judgment. 30 The Court may therefore consider

the fact that Institute is neither a lobbyist nor lobbyist principal in Oklahoma, as

previously discussed, in determining whether Institute has alleged a claim that

Defendant’s lobbyist gift limits violate Institute’s First Amendment rights. The fact that

Institute is neither a lobbyist nor lobbyist principal clearly demonstrates Institute’s

allegations fail to state a claim upon which relief can be granted. The Court should

therefore grant Defendants’ motion to dismiss Institute’s Complaint alleging violations of

its First Amendment rights for failure to state a claim upon which relief can be granted.

III.   EVEN ASSUMING, ARGUENDO, THE COURT HAD JURISDICTION TO
       HEAR THE PRESENT CASE, THE COURT SHOULD EXERCISE ITS SOUND
       DISCRETION AND DECLINE TO TAKE JURISDICTION

       Institute seeks a pre-enforcement declaratory judgment pursuant to 28 U.S.C. §§

2201 & 2202. 31 Even when a court has jurisdiction over a claim, it is not required to

entertain a declaratory judgment action. Courts retain discretion to either decide or not



30
   Muscogee (Creek) Nation v. Henry, 867 F. Supp. 2d 1197, 1213 n. 7 (E.D. Okla. 2010),
aff'd, 669 F.3d 1159 (10th Cir. 2012).
31
   Plaintiff’s Complaint, p. 1 at ¶ 1.
                                              10
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decide cases seeking a declaratory judgment. 32 This Court should exercise its sound

discretion and decline to take jurisdiction of Institute’s claims where Institute is neither a

lobbyist nor lobbyist principal and its claims allege that Ethics Rule 5, which only limits

lobbyist and lobbyist principal gifts to Oklahoma state officers and employees, is

unconstitutional as applied to Institute.


                                       CONCLUSION


       Premises considered, Defendants respectfully request Institute’s Complaint be

dismissed under Fed. R. Civ. P. 12(b)(1), (6) because:

       1. Institute lacks both Article III standing and prudential standing; and

       2. Institute fails to allege sufficient facts to state a claim on which relief can be

          granted.

       Even assuming, arguendo, the Court finds it has jurisdiction over Institute’s

claims, the Court should exercise its sound discretion and decline to take jurisdiction over

Institute’s claims for declaratory and injunctive relief.




32
   28 U.S.C. § 2201(“any court of the United States, upon the filing of an appropriate
pleading, may declare the rights and other legal relations of any interested party seeking
such declaration”) (emphasis added); Sierra Club v. Yeutter, 911 F.2d 1405, 1420, n.8
(10th Cir.1990) (“[d]eclaratory judgments are an equitable remedy and are not granted of
right, but only at the sound discretion of the court).

                                              11
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                                           Respectfully submitted,
                                           s/ Janis W. Preslar

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                                           ATTORNEY FOR DEFENDANTS


                             CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of October, 2018, I electronically transmitted

the foregoing document to the Court Clerk using the ECF System for filing. Based on the

records currently on file, the Court Clerk will transmit a Notice of Electronic Filing to the

following ECF registrants:


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                                           s/ Janis W. Preslar
                                           ______________________




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